
Putnam, J.:
By virtue of his general power over matters of procedure an attorney can control attachments. Hence the attorneys for the attaching creditor had power to release this attachment. (Moulton v. Bowker, 115 Mass. 36; Marble v. Jamesville Manufacturing Co., 163 id. 171.) Having been so withdrawn, the attachment is not now in existence. Plaintiff, indeed, might take out a new attachment and so use this affidavit a second time (Mojarrieta v. Saenz, 80 N. Y. 547), but this would be under an independent order. Therefore this appeal over an attachment now dissolved has nothing substantial remaining. (Commercial Union Assur. Co., Ltd., v. Smith, 16 N. Y. Supp. 114; Woodruff v. Austin, 16 Misc. Rep. 543.) It is, therefore, dismissed, but without costs.
Jenks, P. J., Rich, Blackmar and Kelly, JJ., concur.
Appeal dismissed, without costs.
